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                            WESTERN DISTRICT OF MICHIGAN
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        CERTIFICATE OF GOOD STANDING



        I, Thomas L. Dorwin, Cler                          rited States District Court

          for the Western District <                         11   do hereby certify that



                           THowlAs P. BRANIGAN



         was duly admitted to practice in said Court on April 22, 1991

        and is in good standing as a member of the bar of said Court.


                                                    Thomas L. Dorvvin, Clerk of Court
Dated at Grand Rapids,
Michigan, on January 21, 2022
                                                                       r     I

                                                                                 Deputy Clerk
